      Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 1 of 8



 1   JEFFREY B. COOPERSMITH (SBN 252819)
     AMY WALSH (Admitted Pro Hac Vice)
 2   STEPHEN A. CAZARES (SBN 201864)
     ORRICK, HERRINGTON & SUTCLIFFE LLP
 3   The Orrick Building
     405 Howard Street
 4   San Francisco, CA 94105-2669
     Telephone:    (415) 773-5700
 5   Facsimile:    (415) 773-5759

 6   Email: jcoopersmith@orrick.com; awalsh@orrick.com;
     scazares@orrick.com
 7
     Attorneys for Defendant
 8   RAMESH “SUNNY” BALWANI

 9
10                                 UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12                                      SAN JOSE DIVISION

13

14   UNITED STATES OF AMERICA,                    Case No. CR-18-00258-EJD
15                    Plaintiff,                   MOTION FOR DISMISSAL OR FOR
                                                   OTHER REMEDIES
16          v.
                                                   Date: March 22, 2022
17   RAMESH “SUNNY” BALWANI,                       Time: 8:30 a.m.
                                                   CTRM.: 4, 5th Floor
18                    Defendant.
                                                  Hon. Edward J. Davila
19
20

21

22

23

24

25

26

27

28

                                                                MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                              CASE NO. CR-18-00258-EJD
      Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 2 of 8



 1   NOTICE OF MOTION AND MOTION FOR DISMISSAL OR FOR OTHER REMEDIES

 2
            PLEASE TAKE NOTICE that on March 22, 2022, at 8:30 a.m., or on such other date and
 3
     time as the Court may order, in Courtroom 4 of the above-captioned Court, located at 280 South
 4
     First Street, San Jose, CA 95113, before the Honorable Edward J. Davila, Defendant Ramesh
 5
     “Sunny” Balwani will and hereby does move the Court to dismiss the Third Superseding
 6
     Indictment and, in the alternative, to provide other remedies for the government’s discovery
 7
     violations. The Motion is based on the below Memorandum of Points and Authorities, the
 8
     concurrently filed Declaration of Amy Walsh, the record in this case, and any other matters that
 9
     the Court deems appropriate.
10

11
     DATED: March 15, 2022                          Respectfully submitted,
12
                                                    ORRICK HERRINGTON & SUTCLIFFE LLP
13

14                                                  By: /s/ Jeffrey B. Coopersmith
                                                        Jeffrey B. Coopersmith
15
                                                         Attorney for Defendant
16                                                       RAMESH “SUNNY” BALWANI

17

18

19
20

21

22

23

24

25

26

27

28

                                                                        MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                      CASE NO. CR-18-00258-EJD
          Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 3 of 8



 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2
     I.       INTRODUCTION AND BACKGROUND
 3

 4            On April 2, 2021, Mr. Balwani requested that the government produce the fruits of its

 5   search of electronic devices belonging to potential witness Viswanathan “Shekar”

 6   Chandrasekaran. Declaration of Amy Walsh, Ex. 1. Just after 5:00 pm on March 8, 2022, almost a

 7   year later and on the eve of Mr. Balwani’s jury selection, the government informed defense

 8   counsel that it planned to turn over all of what was seized from Mr. Chandrasekaran’s home,

 9   consisting of about 20 terabytes of data, the equivalent of around 130 million pages. Id., Ex. 2.1

10   The email from government counsel did not describe the contents of this mammoth volume of

11   material, but both parties know that Mr. Chandrasekaran was a consultant for Theranos who

12   worked on the Laboratory Information System (LIS) that has long been the subject of motion

13   practice before the Court here and in Elizabeth Holmes’ case. See, e.g., Dkts. 563, 682, 730,

14   1156, 1181, 1193. The government has also been espousing a theory for well over a year that

15   Mr. Chandrasekaran was involved in the failure to preserve LIS after he left Theranos. See

16   Dkt. 682 at 2–7, 10; Mr. Balwani’s April 28, 2021 Sealed Joinder to Ms. Holmes’ Motion to

17   Exclude Evidence of Anecdotal Test Results; Walsh Decl., Ex. 3 at 14:6–7.

18            This was not a case of inadvertent noncompliance with the government’s responsibilities.

19   The government has had the data since it seized Mr. Chandrasekaran’s devices on

20   December 9, 2020. Rather than produce any of that data then or even close in time to the seizure,

21   the government inexplicably sat on the material until the eve of Mr. Balwani’s trial when it

22   notified defense counsel that it would dump an enormous and undifferentiated volume of data on

23   defense counsel that will be physically impossible to review in time to use during the trial. Walsh

24   Decl., Ex. 1; see also id., Ex. 4.2 The March 8 email from the government estimated that it would

25   take about three weeks just to load the data on several hard drives it has asked the defense to

26   1
       See How Much Is 1 TB of Storage?, Dropbox (last visited Mar. 9, 2022),
     https://experience.dropbox.com/resources/how-much-is-1tb.
27   2
       While the parties’ discussions over reviewing a small selection of potentially privileged
28   documents are ongoing, that does not affect the 20 terabytes of non-privileged material the
     government is producing.
                                                                          MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                        CASE NO. CR-18-00258-EJD
         Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 4 of 8



 1   provide. Id., Ex. 2. It is unclear whether the government has reviewed any of this material, but

 2   evidently it believes that it contains or may contain material it must turn over to the defense under

 3   the applicable rules.3 The untimeliness and breadth of this disclosure violate both Rule 16 and Mr.

 4   Balwani’s Fifth Amendment rights under Brady v. Maryland, 372 U.S. 83 (1963), and its

 5   progeny, because Mr. Balwani cannot review the huge trove of data in time to meaningfully

 6   assess whether to use it in trial.

 7           This is a Rule 16 and constitutional violation of immense proportions, and because of the

 8   extent of the violation, the Court should dismiss the Third Superseding Indictment. This remedy

 9   is appropriate because the government’s case turns on the allegation that Theranos was incapable
10   of consistently producing accurate and reliable results.4 The data in the LIS was material to the

11   defense’s ability to attack that allegation. Thus, the loss of the LIS is critical to Mr. Balwani’s

12   defense, including Mr. Chandrasekaran’s role in trying to obtain the LIS. Short of dismissing the

13   entire indictment, the Court should exclude all evidence and argument related to the patient-fraud

14   counts, which turn on the government’s allegation about accuracy, because the Chandrasekaran

15   data may well be material to the LIS and its destruction, and therefore to the allegations about

16   accuracy. Despite having this material since December 2020 and knowing that Mr. Balwani

17   requested it in April 2021, the government waited until the eve of Mr. Balwani’s trial, and until

18   after the parties had briefed and argued motions related to the loss of the LIS and the Court

19   decided that motion, to inform Mr. Balwani that it had decided to produce this massive volume of
20   additional data.

21   II.     ARGUMENT
22           A.    The Government’s Anticipated Disclosure Violates Rule 16 and Brady
23           The government’s anticipated disclosure of 20 terabytes of new data three weeks into trial

24
     3
25     Any assertion that the material is irrelevant would conflict with the government’s decision to
     provide it. The government would not turn over 20 terabytes of information unless it believed that
26   the data may contain relevant information. In any event, the defense now has an ethical obligation
     to review discovery produced by the government.
27   4
       Mr. Balwani maintains that, because the charges in the indictment are limited to the capabilities
     of Theranos’ proprietary technology, evidence unrelated to Theranos’ technology is inadmissible.
28   But the Court has ruled otherwise. See Dkt. 1326 at 7–8.
                                                                           MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                                         CASE NO.
                                                      -2-                                         CR-18-00258-EJD
       Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 5 of 8



 1   contravenes its disclosure obligations under Rule 16 and Brady. The government ignored its

 2   express duty under Rule 16 to “promptly” disclose evidence requested by the defense by ignoring

 3   Mr. Balwani’s request for nearly a year and waiting until mid-trial to make its disclosure. Fed. R.

 4   Crim. P. 16(c). Courts have “emphasized that disclosure of critical information on the eve of trial

 5   is unsafe for the prosecution,” especially when the material is “not easily identifiable as a

 6   document of significance” and “located … among reams of documents.” United States v. Gil, 297

 7   F.3d 93, 106 (2d Cir. 2002). The government’s “disclosure must occur at a time when the

 8   evidence can be of use and value to the defendant.” United States v. Govey, 284 F. Supp. 3d 1054,

 9   1056 (C.D. Cal. 2018). The Court should not countenance the government’s dereliction of its
10   duties.

11             B.   The Court Should Dismiss the Indictment
               Faced with a discovery violation, the Court is empowered to impose a range of sanctions,
12
     including to “prohibit that party from introducing the undisclosed evidence” and to “enter any
13
     other order that is just under the circumstances.” Fed. R. Crim. P. 16(d)(2)(C)–(D). Such an order
14
     can include dismissal of the charges if the defendant “suffers substantial prejudice and where no
15
     lesser remedial action is available.” Govey, 284 F. Supp. 3d at 1061 (quoting United States v.
16
     Chapman, 524 F.3d 1073, 1087 (9th Cir. 2008)).
17
               The government’s conduct warrants the most severe sanctions and the dismissal of the
18
     Third Superseding Indictment. As in Govey, the government “did not proceed reasonably and
19
     competently” in responding to Mr. Balwani’s discovery request; “instead [it] inexplicably and
20
     unapologetically delayed the disclosure of material evidence.” Id. at 1062. And, even now, as the
21
     government contemplates disclosure, it does so “in a manner that demonstrate[s] blatant
22
     indifferent and reckless disregard for the Defendant’s ability to use the materials at trial.” Id. In
23
     Govey, dismissal was warranted when the government “dumped” some 100,000 documents “on
24
     the eve of trial,” because, as the district court explained, “[i]t was downright disingenuous for the
25
     Government to expect” the court and the defendant would have the “superpowers” necessary to
26
     review that “magnitude of material documents.” Id. The government’s conduct here eclipses the
27
     transgressions in Govey by orders of magnitude, delivering many times the amount of data weeks
28
                                                                            MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                                          CASE NO.
                                                      -3-                                          CR-18-00258-EJD
       Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 6 of 8



 1   into trial.

 2           The Chandrasekaran data dump is not a stray file that was mistakenly overlooked. It is a

 3   massive trove of data, directly responsive to a defense Rule 16 request, that the government knew

 4   about, that Mr. Balwani requested, and that the government elected to sit on for a year. The

 5   government’s decision to provide the material means that it believes that it contains or may

 6   contain evidence that it must disclose under Rule 16 or Brady. In fact, in its response to

 7   Ms. Holmes’ motion in limine related to anecdotal evidence and its response to Mr. Balwani’s

 8   motion to suppress related to the loss of the LIS, as well as during oral argument on these issues,

 9   the government invoked Mr. Chandrasekaran as representing a supposed “connection between the
10   loss of the [LIS] information and Mr. Balwani,” even as it knew it was withholding evidence

11   about Mr. Chandrasekaran. Ex. 3 at 14:6–7; see also Dkt. 682 at 2–7, 10. Yet the defense did not

12   learn about the government’s intention to produce Mr. Chandrasekaran’s multi-terabytes of data

13   to Mr. Balwani until the eve of his trial.

14           The combination of this discovery’s extraordinary untimeliness and its breadth violates

15   Mr. Balwani’s Fifth Amendment rights under Brady and its progeny because Mr. Balwani cannot

16   review the Chandrasekeran data in time to meaningfully assess its contents and decide whether to

17   use it. While Mr. Balwani’s counsel does not know what is in the data, the government’s seizure

18   of the data in connection with an investigation of the loss of the LIS suggests it contains material

19   helpful to the defense. Mr. Balwani’s counsel must therefore review the data for anything that
20   could help defend against the charges. See United States v. Messer, 647 F. Supp. 704, 708 (D.

21   Mont. 1986) (explaining that failure to review documents provided by government in discovery

22   constituted “deficient performance in defending a criminal case”). But counsel cannot discharge

23   their duty in time for this trial. The upshot is that the government’s conduct leaves Mr. Balwani

24   “with two options: continue the trial, and give up his Sixth Amendment right to a speedy trial; or

25   proceed with trial, and give up his [other constitutional rights.] Either option denies Defendant his

26   constitutional rights and the fair administration of justice.” Govey, 284 F. Supp. 3d at 1063–64.

27           No reasonable continuance would cure the harms caused by the government’s delaying

28   this disclosure until no earlier than the third week of trial. Without the ability to review
                                                                            MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                                          CASE NO.
                                                      -4-                                          CR-18-00258-EJD
       Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 7 of 8



 1   documents that may be material to Mr. Balwani’s ability to defend against the allegation that

 2   Theranos’ technology was incapable of consistently producing accurate results, the prejudice he

 3   faces is severe. The Court should not condone the government’s conduct, and the only “order that

 4   is just” under Rule 16 here is dismissal with prejudice. Govey, 284 F. Supp. 3d at 1064 (“The

 5   only option the Court has to preserve and protect Defendant’s constitutional rights is to dismiss

 6   the charges and to do so with prejudice.”); id. at 1064 n.4 (“Any lesser sanction would also

 7   constitute an endorsement of the Government’s misconduct and the unwillingness to take

 8   responsibility for its actions.”).

 9           C.    The Court Should Exclude Evidence on the Patient-Fraud Counts Where LIS
                   Issues Are Most Relevant
10

11           Nothing short of an order of dismissal can fully address the government’s conduct. But

12   even absent dismissal, the Court should fashion some remedy, and significant sanctions are

13   warranted to mitigate the harms to Mr. Balwani’s defense. Mr. Balwani requests that the Court

14   exclude any evidence supporting the patient-fraud counts, including testimony from or about

15   Mr. Chandrasekaran.

16           The Court has the power to exclude evidence. Fed. R. Crim. P. 16(d)(2)(C) (“If a party

17   fails to comply with this rule, the court may: … prohibit that party from introducing the

18   undisclosed evidence ….”). It should exercise that power when, as here, “disclosure of the

19   [evidence] on the eve of trial” would “interfere with a defendant’s right to a fair trial, since
20   substantial prejudice may result if counsel does not have adequate time to attempt to overcome

21   the prejudicial effect of such evidence.” United States v. Espericueta-Reyes, 631 F.2d 616, 623

22   (9th Cir. 1980). When such a disclosure would make “it unreasonably difficult for [the defendant]

23   to present his defense,” he may, among other things, “move the court for a ruling excluding the

24   objectionable testimony on due process grounds.” Id. at 623 & n.6.

25           Even with the Chandrasekaran data expected to be physically produced mid-trial (i.e.,

26   loaded on hard drives), there is no reasonable approach that would permit Mr. Balwani to review

27   terabytes of new evidence on the fly. And issues about the LIS and the patient-fraud counts to

28   which it connects are expected to arise quickly in Mr. Balwani’s trial. For example, the
                                                                            MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                                          CASE NO.
                                                      -5-                                          CR-18-00258-EJD
       Case 5:18-cr-00258-EJD Document 1357 Filed 03/15/22 Page 8 of 8



 1   government’s list of witnesses for the first week includes two witnesses who are expected to

 2   testify about laboratory testing errors. With no adequate path to reviewing and admitting the new

 3   discovery in compliance with the rules and justice, that evidence must be excluded. And merely

 4   precluding the government from introducing any of the material in the 20 terabytes of data would

 5   be a toothless remedy, because the government likely has no intention to introduce any of this

 6   material in its case-in-chief. The problem here is that the government is dumping the equivalent

 7   of 130 million pages of information on the defense that it concluded it must produce, even though

 8   the government has had the data since December 2020. Given this timing, it is impossible for

 9   defense counsel to discharge its obligation to Mr. Balwani to review the material.
10   III.   CONCLUSION
11          The Court should grant Mr. Balwani’s motion and dismiss the Third Superseding

12   Indictment. In the alternative, it should sanction the government’s discovery violations as

13   requested above.

14

15   DATED: March 15, 2022                          Respectfully submitted,

16                                                  ORRICK HERRINGTON & SUTCLIFFE LLP
17
                                                    By: /s/ Jeffrey B. Coopersmith
18                                                      Jeffrey B. Coopersmith
19                                                        Attorney for Defendant
                                                          RAMESH “SUNNY” BALWANI
20

21

22

23

24

25

26

27

28
                                                                         MOTION FOR DISMISSAL OR OTHER REMEDIES
                                                                                                       CASE NO.
                                                    -6-                                         CR-18-00258-EJD
